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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTR ICT O F FLO RIDA
                                CASE NO.18-20690-CR-UNGARO


  UNITED STATES OF AM ERICA

  VS.

  JENNIFER JOHN CARBON
         Defendant.
                                    /

                                        PLEA AG REEM ENT

         The Officeofthe United StatesAttorney forthe Southern DistrictofFlorida(hereinafter

  thisllofGce''land JENNIFER JOHN CARBON,(referredto asthe didefendant'')enterinto the
  following agreem ent:

                 ThedefendantagreestopleadguiltytoCountOne(1)whichchargesthedefendant
  w ith Conspiracy to Receive Health Care Kickbacks in violation ofTitle 18,United States Code,

  Section 371.

                 The defendant is aw are that the sentence w ill be im posed by the Court after

  considering theFederalSentencing Guidelinesand Policy Statements(hereinafterusentencing
  Guidelinesn). The defendantacknowledgesand understandsthatthe Courtwillcompute an
  advisory sentence under the Sentencing Guidelines and that the applicable guidelines w illbe

  determ ined by the Courtrelying in parton theresultsofaPre-sentencelnvestigation by the Court's

  probation office,which investigation w illcom m ence afterthe guilty plea has been entered. The

  defendantisalso aware that,undercertain circum stances,the Courtm ay departfrom the advisory

  sentencing guideline range thatithas com puted,and m ay raise or lower that advisory sentence
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  Defendant'slnitialsJb (.
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  underthe Sentencing Guidelines. The defendantis furtheraw are and understandsthatthe Court

  isrequiredto considertheadvisory guidelinerangedeterm inedunderthe Sentencing Guidelines,

  butis notbound to im pose that sentence'
                                         ,the Courtisperm itled to tailorthe ultim ate sentence in

  lightofotherstatutory concerns,and such sentencem ay be eitherm ore severe orlesssevere than

  the Sentencing Guidelines'advisory sentence. Know ing these facts,the defendantunderstands

  and acknow ledges thatthe Courthas the authority to im pose any sentence w ithin and up to the

   statutory maximum authorized by law for the offenses identified in paragraph 1 and thatthe

   defendantm ay notw ithdraw the plea solely asa resultofthe sentence im posed.

                    The defendantunderstandsthatasto CountOne (1)theCourtmay impose a
   sentenceofuptofive(5)years'imprisonment,followedby aterm ofsupervisionofuptothree

   (3)yearsandafineofupto$250,000.
          4.      The defendant further understands and acknowledges that,in addition to any

   sentence imposed underparagraph 3 ofthisagreement,a specialassessmentin the amountof

   $100.00 willbe imposed on the defendant. The defendantagrees thatany specialassessment

   i'
    m posed shallbe paid atthe tim e ofsentencing.
                  This O ffice reserves the rightto inform the Courtand the probation office of all

   factspertinenttothesentencing process,including allrelevantinform ation concerningthe offenses

   committed,whether charged ornot,as wellas concerning the defendant and the defendant's

   background. Subjectonlytotheexpresstermsofanyagreed-upon sentencingrecommendations
    contained in thisagreem ent,thisO ffice furtherreservesthe rightto m ake any recom m endation as

    to the quality and quantity ofpunishm ent.


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         ,      This Office agreesthatitw illrecom m end atsentencing thatthe Courtreduce by

  two levelsthesentencingguidelineIevelapplicabletothedefendant'soffense,pursuantto Section

  3E1.1(a)oftheSentencingGuidelines,baseduponthedefendant'srecognitionandaftirmativeand
  tim ely acceptance ofpersonalresponsibility. 1f,atthetim e ofsentencing,the defendant'soffense

  levelisdeterm ined to be 16 orgreater,thegovernm entw illm akea m otion requesting an additional

  oneleveldecrease pursuantto Section 3E1.1(b)ofthe Sentencing Guidelines,statingthatthe
  defendanthas assisted authorities in the investigation or prosecution ofher own m isconductby

  tim ely notifying authorities of her intention to enter a plea of guilty,thereby perm itting the

   governm entand the Courtto allocate theirresourcesefficiently.

          H ow ever,thisOftice w illnotbe required to m aketheserecom m endationsifthe defendant:

   (a)failsorrefusestomakea111,accurateandcompletedisclosuretotheprobationofficeofthe
   circumstancessurroundingtherelevantoffenseconduct;(b)isfoundtohavemisrepresentedfacts
   tothe governmentpriorto entering thisplea agreement;or(c)commitsany misconductafter
   entering into thispleaagreem ent,including butnotIim itedto com m itting a state orfederaloffense,

   violating any term ofrelease,orm aking afalse statem entorm isrepresentationto any governm ental

   entity orofficial.
                 The United States and the defendant agree that, although not binding on the

   probation office orthe Court,they willjointly recommend thatthe Courtmakethefollowing
   findings and conclusionsasto the sentence to be im posed:
          a. B ase Offense Level- the partiesagreethatthe base offense Ievelapplicable to the

   defendant'sconductisLevel8pursuanttoSentencingGuidelinesj2B4.1(a).

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                 ImproperBenefitConferred- thepartiesagreethatthedefendant'sconductcaused

   theTricareprogram to improperly conferbenetitsonothersinan amountgreaterthan$1,500,000

   butlessthan 3,500,000,resulting in a sixteen (l6)levelenhancementpursuantto Sentencing
   Guidelinesj2Bl.l(b)(1)(I).
                 The defendantisaw are thatthe sentence hasnotyetbeen determ ined by the Court.

  The defendantalso isaware thatany estim ateoftheprobable sentencing range orsentencethatthe

  defendant m ay receive, whether that estim ate com es from the defendant's attorney, the

  governm ent,or the probation office,is a prediction,not a prom ise, and is not binding on the

  governm ent, the probation office or the Court. The defendant understands further that any

  recom m endation thatthegovernm entm akesto theCourtasto sentencing, whetherpursuantto this

  agreem ent or otherwise, is not binding on the Court and the Court m ay disregard the

  recom m endation in its entirety. The defendantunderstands and acknow ledgesthatshe m ay not

  w ithdraw her plea based upon the Court's decision notto accepta sentencing recomm endation

  madebythedefendant,thegovernment,orarecommendationmadejointlybyboththedefendant
  and the governm ent.

                 The defendantagreesthatshe shallcooperate fully w ith thisO ffice by:

                 (a)providing truthfuland complete information and testimony,and producing
  docum ents,records and otherevidence,w hen called upon by this O ftice, w hether in interview s,

  beforeagrandjury,oratanytrialorothercourtproceeding;
                 (b)appearing atsuch grandjury proceedings,hearings,trials,and otherjudicial
  proceedings,and atm eetings,as m ay be required by thisOffice.

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              This Office reserves the right to evaluate the nature and extent of the defendant's
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l      cooperation and to makethe defendant'scooperation, or lack thereof,know n to the courtatthe

ë      time ofsentencing. lfin the sole and unreviewablejudgmentofthisOffice the defendant's
       cooperation isofsuch quality and significanceto the investigation orprosecution ofothercrim inal

       m attersasto warrantthe court'sdow nw ard departure from the tzt/vgor.psentence calculated under

       the Sentencing Guidelines,thisO ffice m ay atorbefore sentencing m ake a m otion consistentw ith

      the intent of Section 5K 1.1 ofthe Sentencing Guidelinespriorto sentencing, or Rule 35 of the

      FederalRules ofCrim inalProcedure subsequentto sentencing, retlecting thatthe defendanthas

      provided substantialassistanceand recommending thatthedefendant'ssentencebereduced from

      theadvisorysentencesuggested by theSentencingGuidelines. The defendantacknow ledgesand

      agrees,how ever,thatnothing in thisA greem entm ay beconstrued to requirethisO fficeto Gleany

      suchmotionts)andthatthisOffice'sassessmentofthenature,value,truthfulness,completeness,
      and accuracy ofthe defendant'scooperation shallbe binding insofarasthe appropriatenessofthis

      Office'sGling ofany suchmotion isconcerned.

             The defendantunderstandsand acknow ledgesthatthe Courtisunderno obligation to grant

      themotionts)referredtointhisagreementshouldthegovemmentexerciseitsdiscretiontotileany
      such m otion. The defendant also understands and acknow ledges that the Courtis under no

      obligation to reduce the defendant's sentence because ofthe defendant'scooperation.

             l0.    D efendantrecognizesthatpleading guilty m ay have consequencesw ith respectto

      the defendant's im m igration status if the defendant is not a natural-born citizen of the United

      States. U nder federal law , a broad range of crim es are rem ovable offenses, including the

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j      offensets)to which defendantispleading guilty ln addition,undercertain circum stances, de-
                                                        .
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       naturalization m ay also be a consequence of pleading guilty to a crim e.        Rem oval, de-

      naturalization,and otherimmigration consequencesare the subjectofa separate proceeding,
      however,and defendantunderstandsthatno one, including the defendant's attorney orthe Court,

      can predictto a certainty the effectofthe defendant'sconviction on thedefendant'simm igration

      status. D efendantnevertheless affirm sthatthe defendantwantsto plead guilty regardless ofany

      im m igration consequences thatthe defendant's plea m ay entail, even if the consequence is the

      defendant'sde-naturalization and autom atic rem ovalfrom the United States.

              11.     The defendantis aw are thatTitle 18, U nited StatesCode,Section 3742 affordsthe

      defendantthe rightto appealthe sentence im posed in thiscase. Acknowledging this,in exchange

      forthe undertakingsinade by thisO ffice in this plea agreem ent, the defendantthereby w aives all

      rightsconferred by Section 3742 to appealany sentence im posed, including any restitution order,

      or to appealthe m anner in w hich the sentence w as im posed,unless the sentence exceeds the
                                    .



      m axim um perm itled by statute oristheresultofan upw ard departure from the guidelinerangethat

      the Court establishes at sentencing. The defendant further understands that nothing in this

      agreem entshallaffectthe governm ent'srightand/orduty to appealassetforth in Title 18, United

      States Code,Section 3742(19. However,ifthe governmentappealsthe defendant's sentence
      pursuantto Section 3742(19,thedefendantshallbereleased from theabovewaiverofappellate
      rights. By signing thisagreement,thedefendantacknowledgesthatshehasdiscussedtheappeal

      w aiversetforth in thisagreem entw ith herattorney. The defendantfurtheragrees,togetherw ith

      this Office,to requestthatthe districtCourtentera specific finding thatthe defendant'sw aiverof


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      herrightto appealthe sentence to be im posed in thiscasew as know ing and voluntary.
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                     The defendantagreesto the entry ofa restitution order forthe fullam ountofthe

      governm ent's losses pursuantto Title 18, United States Code,Section 3663A . 'rhe defendant

      understandsthatthe am ountofrestitution ow ed to the governm entw illbe determ ined atorbefore

      sentencing unlessthe Courtordersotherw ise.

              l3.    Additionally,the defendant knowingly and voluntarily agrees to the entry of a

      forfeituremoneyjudgmentagainstherintheamountof$99,802(US)(hereinafter,thetiForfeiture
      MoneyJudgmenf'),whichsheagreesisasum ofmoneyequalinvaluetogrossproceedstraceable
      to the com m ission oftheviolation to w hich she agreesto plead guilty herein.

              14.    The defendantknow ingly and voluntarily agrees to waive herrigbtto a hearing,

      pursuanttoFed.R.Crim.P.32.2(b)(1)(A),todeterminetherequisitenexusbetweenthePersonal
      Property and offense to w hich she agrees to plead guilty herein, and to determ ine the am ountof

      the Forfeiture M oney Judgm ent.Furtherm ore, thedefendantknow ingly and voluntarily agreesthat

      she shallnot,in any m anner,act in opposition to the U nited States in seeking forfeiture oftbe

      PersonalProperty and in seeking entry and fullsatisfaction ofthe Forfeiture M oney Judgm ent.

             15.     The defendantknow ingly and voluntarily agreesto waivethe follow ing rightsw ith

      respectto the forfeiture ofthe PersonalProperty and the entry ofthe Forfeiture M oney Judgm ent

      againsther:

                     (a)     Al1constitutional,Iegal,andequitabledefensestosuchforfeiture;
                     (b)     Any constitutionalorstatutorydoublejeopardydefenseorclaim regarding
      such forfeiture;


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                         Any claim ordefense to such forfeiture broughtorraised underthe Eighth

  Am endm entto the U nited States Constitution, including,butnotlim ited to,any claim ordefense

  ofexcessive fine;and

                 (d)     Any rightshe may haveto an appealofany resulting orderofforfeiture
  regarding the PersonalProperty and/ortheForfeiture M oney Judgm ent.

          16.    The defendantknow ingly and voluntarily agreesand understandsthattheforfeiture

  ofthePersonalProperty agreed upon herein shallnotbetreated assatisfaction(eitherpartialor
  111)ofanyassessment,fine,restitution,costofimprisonment,oranyotherpenaltythattheCourt
  m ay im pose upon the defendantin addition to the forfeiture. The defendant also agrees to assist

  thisOfficeina1lproceedings,administrativeorjudicial,involvingforfeituretotheUnitedStates
  of any property,including substim te property, regardlessofits nature or form ,realor personal,

  w hich the defendant or others know n to the defendant, have accumulated as a resultofillegal

  activities. The assistance shallinclude:identification ofany property subjectto forfeiture,
  agreementtotheentryofanorderenjoiningthetransferorencumbranceofsuchproperty,andthe
  transferofsuch property to the United Statesby delivery to this Office upon thisO ffice'srequest,

  any necessary and appropriate docum entation,including consents to forfeiture and quit claim

  deeds,to delivergood and m arketabletitle to such property.

                 ln furtherance ofthe collection ofthe Forfeim re M oney Judgm entand/ora

  restitutionjudgment,thedefendantagreestothefollowing:
                 (a)    Thedefendantagreestomakefullandaccuratedisclosureofherfinancial
  affairs to the United States Attorney's Office and U .S. Probation Office. Specifically, the


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r      defendantagrees thatw ithin 10 calendar days ofthe signing ofthis Plea A greem ent, defendant

      shallsubmita completed FinancialDisclosureStatement(form provided by theUnited States),
      and shallfully disclose and identify allassets in w hich she hasany interestancl/oroverwhich the

      defendantexercises control,directly orindirectly, including those held by a spouse, nom inee,or

      otherthird part
                    'y. Thedefendantagreesto provide, in atim ely m anner,alltinancialinform ation

      requested by theUnited StatesAttorney'sOffice and U .S.Probation O ffice,and upon request, to

      m eet in person to identify assets/m onies w hich can be used to satisfy the Forfeiture M oney

      Judgmentand/orthe restitutionjudgment. ln addition,the defendantexpressly authorizesthe
      United StatesAttorney's Office to obtain a creditreport.

                     (b)     Thedefendantagreesthatshewillnotsell,hide,waste,encumber,destroy,
      orotherwisedevalueany assetuntiltheForfeitureM oney Judgmentandherrestitutionjudgment
      is paid in fullw ithoutprior approvalofthe governm ent. The defendantshallalso identify any

      transferofassetsvalued in excess of$5,000 since the dateofthe signing ofthisAgreementor
      when shebecam e aware ofthe crim inalinvestigation, including the identity oftheasset,thevalue

      of the asset,the identity of the third party to w hom the assetw as transferred, and the current

      Iocation oftheasset.

                     (c)     The defendant agrees to cooperate fully in the investigation and the
      identitication of assets to be applied tow ard forfeiture and/or restitution. The defendantagrees

      that providing false or incom plete inform ation about her financial assets, or hiding, selling,

      transfening or devaluing assets and/or failing to cooperate fully in the investigation and

      identificationofassetsmay beusedasabasisfor:1)separateprosecution,including,under18

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?      U .s.c . 11001;or2)recommendation ofadenialofareducti
                                                           on foracceptanceofresponsibility
       pursuantto Sentencing Guidelines1 3E1.1.

                      (d)    Thedefendantfurtheragreestoliquidateassets,orcompleteanyothertasks
       which result in im m ediate paym ent of the Forfeiture M oney Judgm ent and/or the restitution

       judgmentinfull,orfullpaymentintheshortestamountoftime,asrequestedbythegovernment               .




                      (e)    Thedefendantshallnotify,within 30days,theClerk oftheCourtandthe
       UnitedStatesAttorney'sOfticeof:l)any changeofname,residence,ormailingaddress, and2)
       any m aterialchangein econom ic circum stancesthataffectstheability to pay theForfeitureM oney

       Judgm entand/orrestitution.

              18.    The defendantagreesthatshe hasconsulted w ith herattorney and fully understands

       aIlrightswith respectto the Inform ation. Further, the defendantagreesthatshe hasbeen advised

       concerning and fully understands all rights w ith respect to the provisions of the Sentencing

       G uidelinesw hich m ay apply in thiscase. The defendant, by hersignature affixed below , attests

       thatshe hasread this agreem ent,carefully review ed every partofitwith herattorney, thatshe is

       satistied w ith her attorney's advice and representation regarding her decision to enter into the

       agreem ent,and voluntarily agreesto be bound by every term and condition setforth herein.

              l9.    Defense counsel,by hissignature affixed below , atteststhathe hasfully explained

      to the defendantherrights w ith respectto the pending Inform ation, thathe hasreview ed with the

      defendant the provisions of the Sentencing Guidelines and has explained to the defendantthe

      provisionswhich m ay apply in this case,and thathe has carefully review ed every partofthisplea

      agreem entwith the defendant.


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.            20.    This is the entire agreem ent and understanding between this O ffice and the
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q
l      defkndant. n ere are no otheragreem ents
@                                              , prom i
                                                      ses,representations,orundersondings.
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l                                               ATTORN EY FOR TH E UN ITED STA TES
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                                                ACTIN G UND ER AU THORITY
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       Dat
         e:#/n/lr                        By:
                                                            J.LARSEN
                                                       SSISTAN T U NITED STATES ATTORNEY


       Date: 7 f                         By:
                                                              EIGLARSH,ESQ.
                                                    ATTORNEY FOR DEFENDANT


       Ilate:q/,llv'                     By:
                                                             1 R JOI4N CARBON
                                                       EFE     ANT




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